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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF OKLAHOMA

RANDY LUNDY,                      )
                                  )
     Plaintiff,                   )
                                  )
            v.                    ) Case No: 5:22-cv-00699-F
                                  )
HL MOTOR GROUP, INC.,             )
HIGHLIGHT MOTOR FREIGHT USA, INC.,)
OLD REPUBLIC INSURANCE COMPANY )
and OGNJEN MILANOVIC,             )
                                  )
     Defendants.                  )

           DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                  TO THE PLAINTIFF’S COMPLAINT

       Defendants, HL Motor Group, Inc. (“Highlight”), Highlight Motor Freight USA,

Inc., Old Republic Insurance Company (“Old Republic”) and Ognjen Milanovic (“Mr.

Milanovic”), by their attorneys, Lewis Brisbois Bisgaard & Smith LLP, for their Answer

and Affirmative Defenses to the Plaintiff’s Complaint, state as follows:

       1.     On or about August 8, 2020, in or near Oklahoma City, Oklahoma, Ognjen
Milanovic, an employee, agent or servant of Defendants HL Motor Group, Inc., and/or
Highlight Motor Freight USA, Inc., while driving a semi-tractor trailer rig carelessly and
recklessly left the Interstate Highway and collided with Plaintiffs residential property,
causing significant property damage and other losses.

       ANSWER: Defendants admit that Mr. Milanovic, while an employee of

Highlight, was operating Highlight’s vehicle at the time of the incident giving rise to this

action but deny the remaining averments contained in Paragraph 1 of plaintiff’s Complaint.

       2.     The collision was the direct result of the careless, reckless, wanton and
grossly negligent actions and omissions of Defendants HL Motor Group, Inc.'s, and/or
Highlight Motor Freight USA, Inc.' s, employee, agent or servant, whose conduct was life-
threatening to members of the public. Plaintiff is entitled to recover actual damages from
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Defendants. In addition, Defendants Ognjen Milanovic, HL Motor Group, Inc., and/or
Highlight Motor Freight USA, Inc., should be punished for his/its/their acts and omissions
to make an example of Defendants so that it and others do not repeat the same wanton and
life-threatening conduct.

       ANSWER: Defendants deny the averments contained in Paragraph 2 of plaintiff’s

Complaint.

        3.     Defendants HL Motor Group, Inc., and/or Highlight Motor Freight USA,
Inc., carelessly, negligently, and wantonly entrusted its employee, agent or servant with the
large commercial vehicle he was operating, knowing that he was a careless, reckless or
incompetent driver and/or with no regard to his skills and experience as a driver. Therefore,
Defendants HL Motor Group, Inc., and/or Highlight Motor Freight USA, Inc., are directly
liable for Plaintiffs property damages and other losses as well as punitive damages.

       ANSWER: Defendants deny the averments contained in Paragraph 3 of plaintiff’s

Complaint.

        4.     Defendants HL Motor Group, Inc.'s, and/or Highlight Motor Freight USA,
Inc.'s, driver was in the course and scope of his employment or agency relationship with
Defendants at the time of the collision. Therefore, Defendants are liable for Plaintiffs
property damages and other losses as well as punitive damages.

       ANSWER: Defendants admit that Mr. Milanovic, while an employee of

Highlight, was operating Highlight’s vehicle at the time of the incident giving rise to this

action but deny the remaining averments contained in Paragraph 4 of plaintiff’s Complaint.

        5.    Defendants HL Motor Group, Inc., and/or Highlight Motor Freight USA,
Inc., negligently hired, retained, trained and/or supervised its driver.

       ANSWER: Defendants deny the averments contained in Paragraph 5 of plaintiff’s

Complaint.

        6.    Defendants HL Motor Group, Inc., and/or Highlight Motor Freight USA,
Inc., negligently permitted and/or required its driver to be distracted during his operation
of the company vehicle by equipping its driver and/or the vehicle with one or more devices
known to distract drivers during operation of the company's vehicles.
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       ANSWER: Defendants deny the averments contained in Paragraph 6 of plaintiff’s

Complaint.

      7.     As a direct result of the conduct of Defendants as described herein and to be
discovered during the pendency of this litigation, Plaintiff sustained significant property
damages and other losses.

       ANSWER: Defendants deny the averments contained in Paragraph 7 of plaintiff’s

Complaint.

        8.     Upon information and belief, Defendant Old Republic Insurance Company
is a foreign insurance company and is directly liable for the damages sustained to Plaintiffs
property damage pursuant to the Oklahoma Motor Carrier Act. See 47 O.S. § 230.30 and/or
47 O.S. § 169.

       ANSWER: Defendants admit that Old Republic is a foreign insurance company

and make no answer to the remaining averments of Paragraph 8 of plaintiff’s Complaint,

since it states conclusions of law rather than allegations of fact that can be admitted or

denied. To the extent those conclusions are deemed to be averments of fact, defendants

deny the same.

       WHEREFORE, Defendants, HL Motor Group, Inc., Highlight Motor Freight USA,

Inc., Old Republic Insurance Company and Ognjen Milanovic, deny that they are liable to

the plaintiff in any amount whatsoever, and pray that judgment be entered in its favor, and

against the plaintiff, on plaintiff’s Complaint, and awarding their costs incurred in

defending this action.
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                                   Affirmative Defenses

       For their Affirmative Defenses to Plaintiff’s Complaint, Defendants, HL Motor

Group, Inc. (“Highlight”), Highlight Motor Freight USA, Inc., Old Republic Insurance

Company and Ognjen Milanovic (“Mr. Milanovic”), state as follows:

                    First Affirmative Defense – Unavoidable Accident

       1.      On August 8, 2020, Mr. Milanovic, while employed by and driving a

Highlight tractor-trailer, lost consciousness as the result of a sudden medical emergency

(the “incident”).

       2.      As a result of the loss of consciousness, Mr. Milanovic was unable to operate

his vehicle.

       3.      The sudden loss of consciousness made it impossible for Mr. Milanovic to

operate and control his vehicle.

       4.      At the time of the incident, Mr. Milanovic had no reason to anticipate that he

could or would experience a sudden loss of consciousness.

       5.      Prior to the incident, Mr. Milanovic had never experienced a sudden loss of

consciousness.

       6.      Prior to the incident, Mr. Milanovic, who was a licensed commercial driver,

passed every Commercial Driver Medical Certification Examination (“CDME”) that he

was required to take.

       7.      On August 8, 2020, Mr. Milanovic was up to date on his required CDME and

certified as fit to drive.
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       8.      At the time of the incident, Mr. Milanovic’s vehicle was not traveling in

excess of the mandatory speed limit nor was he violating any statute, rule, regulation or

operating procedure.

       9.      In the event defendants are found to be negligent, which allegations are

specifically denied, then defendants will prove that said negligence is excused by actions

not of defendants own making, including but not limited to, the occurrence of an

Unavoidable Accident.

       10.     Pursuant to Oklahoma law, when the operator of a motor vehicle is suddenly

stricken by a period of unconsciousness for which he has no reason to anticipate and which

renders it impossible for him to control the vehicle that he is operating, the driver is not

chargeable with negligence or negligence per se as to such lack of control.

       11.     Pursuant to Oklahoma law, the Unavoidable Accident Defense is a complete

defense to an action based on the asserted negligence of a defendant driver of a motor

vehicle.

       12.     As such, the Unavoidable Accident that rendered Mr. Milanovic

unconscious, which was unforeseeable, bars plaintiffs’ claims against defendants.

                               Second Affirmative Defense

       13.     Plaintiff avers a negligence claim against Highlight for failing to act

reasonably in hiring, instructing, training, supervising and retaining Mr. Milanovic.

       14.     As a matter of law, by enrolling in a license-monitoring program, Highlight

exercised reasonable care in monitoring Mr. Milanovic’s driving record as required by 49

CFR 391.25 to determine whether she met the minimum requirement for safe driving.
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                       Third Affirmative Defense – Punitive Damages

           15.   Plaintiff avers that he is entitled to punitive damages.

           16.   Defendants deny that plaintiff is entitled to punitive relief whatsoever and

deny they acted in a reckless, deliberate, malicious, conscious disregard, wanton and/or

willful manner relative to plaintiff.

                               Additional Affirmative Defenses

           17.   Defendants rely on all defenses, limitations and set offs provided under law

including all defenses available under Oklahoma and Federal statutes, rules, regulations

and procedures.

           18.   Defendants reserve the right to submit additional and/or supplemental

affirmative defenses to this action which may become known to defendants during the

course of investigation, discovery and/or trial of this matter.

           WHEREFORE, Defendants, HL Motor Group, Inc., Highlight Motor Freight USA,

Inc., Old Republic Insurance Company and Ognjen Milanovic, request that judgment be

entered in their favor and against the plaintiff on their Affirmative Defenses.

Michael T. Franz                              Respectfully submitted,
Lewis Brisbois Bisgaard & Smith
550 West Adams Street                         HL Motor Group, Inc., Highlight Motor Freight
Suite 300                                     USA, Inc., Old Republic Insurance Company
Chicago, Illinois 60661                       and Ognjen Milanovic,
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Date: August 26, 2022
                                              By:/s/ Michael T. Franz
Attorneys for Defendants                             One of Defendants’ Attorneys
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                                    Certificate of Service

       I hereby certify that I electronically filed Defendants’ Answer and Affirmative

Defenses via the ECF Filing System and that a true and correct copy will be served

electronically to all attorney(s) of record.


                                                  /s/ Michael T. Franz
